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 5   Attorneys for:       Defendant, LOUIE CALLES

 6
 7                               UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                            Case No.: 1:13 CR00362 AWI-BAM
                                                          (007)
11                    Plaintiff(s),
                                                          STIPULATION TO MODIFY
12          v.                                            PRETRIAL RELEASE
     LOUIE CALLES,                                        CONDITIONS; DECLARATION OF
13
                                                          PETER M. JONES; AND ORDER
14                    Defendant(s).                       THEREON

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18
                      Defendant, LOUIE CALLES, by and through counsel, Peter M. Jones, and
19
     Plaintiff, UNITED STATES OF AMERICA, by and through counsel, Benjamin B. Wagner
20
     hereby stipulate as follows:
21
                      That the condition of Pretrial Release regarding Defendants’ travel be modified
22
     to reflect the following: Defendant may travel to the State of Colorado to visit his daughter,
23
     Nicole Calles, and granddaughter. Defendant is to leave no earlier than Friday, October 17,
24
     2014, and return to Fresno no later than Saturday, October 25, 2014; all other conditions of
25
     release, not in conflict, shall remain in full force and effect.
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27
28
                                 DECLARATION OF PETER M. JONES
             I, Peter M. Jones, declare as follows:
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 1          1.      I am an attorney admitted to practice before this court, and am counsel of record

 2   for Louie Calles, a Defendant in the above-entitled action.

 3          2.      Mr. Calles informed me that he would like to visit his daughter, Nicole Calles,

 4   and granddaughter in Colorado.

 5          3.      Mr. Calles currently resides in Fresno, CA and is being supervised by pre-trial

 6   release. His daughter, Nicole Calles, resides in Centennial, Colorado.

 7          4.      I have contacted Pretrial Release Officer, Jacob Scott, and informed him of Mr.

 8   Calle’s desire to travel to Colorado. Officer Scott informed me that he had no opposition to

 9   Mr. Calle’s traveling to Colorado as stipulated.

10          5.      I have contacted AUSA Grant Rabenn, and he has agreed to stipulate to the

11   Defendant’s travel request provided there are specific departure and return dates (Itinerary

12   attached).

13                  I declare under penalty of perjury that the foregoing is true and that this

14   declaration was executed in Fresno, California, on September 16, 2014.

15                                                 ____/s/ Peter M. Jones_________
                                                          Peter M. Jones
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 1   Dated: September 16, 2014                   Respectfully submitted,

 2
                                                 By: /s/ PETER M. JONES_________________
 3                                                  PETER M. JONES, Attorney for
                                                    Defendant, LOUIE CALLES
 4
 5   Dated: September 16, 2014                   BENJAMIN B. WAGNER, U.S. Attorney
                                                 UNITED STATES ATTORNEY’S OFFICE
 6
 7
                                                 By: /s/ GRANT RABENN_______________
 8                                                       GRANT RABENN,
                                                         Assistant U.S. Attorney
 9
10
11
12
13                                                 ORDER

14
                     Having reviewed the above Stipulation and Good Cause Appearing, it is hereby
15
     ordered that the travel condition of Pretrial Release regarding Defendant, Louie Calles, be
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     modified as follows: He may travel to the State of Colorado to visit his daughter, Nicole
17
     Calles and his granddaughter. He will leave no earlier than Friday, October 17, 2014 and
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     return to Fresno, CA no later than Saturday, October 25, 2014. All other conditions of release,
19
     not in conflict, shall remain in full force and effect.
20
21   IT IS SO ORDERED.
22
         Dated:     September 17, 2014                         /s/ Barbara A. McAuliffe           _
23                                                        UNITED STATES MAGISTRATE JUDGE
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